Case 1:05-cr-10032-.]DT Document 41 Filed 07/13/05 Page 1 of 2 Page|D 40

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FoR THE wEsTERN DISTRICT oF TENNESSEE _¢ BV
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Plamtiff, U_ S_ munoz own
W. D. OF TN. Jackson
vs. No. 05-10032-T
RAYMOND sAvOY,
Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for good
cause shown, the report date which is currently scheduled for August 30, 2005, and the trial date
which is currently scheduled for September 6, 2005, are hereby continued Defense counsel will be
unavailable because he will be in trial in another court. Because of the unavailability of counsel, that
motion is hereby granted. The court finds that the unavailability of defense counsel and the
defendant’s need for continuity of counsel justify this continuance and the ends of justice served by
the continuance outweigh the best interests of the public and the defendant in a speedy trial. Also,
defendant contends that additional time is needed for preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends of
justice will be served by granting a continuance in order to allow the defendant more time to prepare

for trial. Accordin l the trial is continued from Se tember 6 2005 to October ll 2005 at 9:30

 

A.M. The resulting period of delay, from Scpternber 6, 2005, to October 11, 2005, is excluded
pursuant to 18 U.S.C. § 3 lol(h)(S)(A).

A new report/motion date has been set for Septernber 6, 2005, 8:30 a.m.

IT IS SO ORDERED.
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JA *S D. TODD
ED STATES DISTRICT JUDGE

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Thls document entered on the docket sheet ln compliance DATE y (/
with Rule 55 and/or 32(b) FRCrP on

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This notice confirms a copy of the document docketed as number 41 in
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Honorable .l ames Todd
US DISTRICT COURT

